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PROB 22 CR 02-161-01-RE
(Rev. 2/88)
TRANSFER OF JURISDlCTlON DOCKET NO. (Rec. Court)
1 :OéCROOOOliB-OOl MMP
NAME AND ADDRESS OF PROBATIONER/SUPERVISED DISTRICT DIVlSION
RELEASEE Oregon
Michael Ryan Soesbe NAME OF SENTENCING NDGE
1035 Northeast 21st Street J A R dd
Gainesviue, FL 32609 ames ' c en
DATES OF PROBATION/ FROM TO
SUPERVISED RELEASE 06-07-06 06-06-09
OFFENSE
ARMED BANK ROBBERY

 

PART l-ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON

 

IT IS HEREBY ORDERED that pursuant to 18 USC § 3605 the jurisdiction of the probationer or supervised releasee named above
be transferred with the records of this Court to the U.S. District Court for the Northern District of Florida upon that Court's order of
acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or supervised release may be changed by
the District Court to which this transfer is made without further inquiry of this court.*

/0 <Z;, 06

 

 

Effective Date nitecy§§€s Districf§dge-»-/

*This sentence malbe deleted in the discretion of the transferring C

 

PART Z_ORDER ACCEPTING JURISDICTION

 

UNITED STA'I'ES DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and assumed by
this Court from and alter the entry of this order.

 

 

 

nw 61 2004 ZFQM¢“ w /M/
Effective Date United tates DistrictJudge

 

 

 

Transfer of Jurisdiction (Prob 22-OR) (4/00) chMOBZS

